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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE: Acetaminophen – ASD-ADHD
Products Liability Litigation                Docket No.: 22-md-3043 (DLC)

This Document Relates To:

All Cases



  DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO EXCLUDE PLAINTIFFS’
   GENERAL CAUSATION EXPERTS’ OPINIONS REGARDING BIOLOGICAL
                     PLAUSIBILITY/MECHANISM
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       Plaintiffs’ oppositions essentially abandon all but two of their experts’ speculative and

unscientific mechanism theories, focusing their efforts on oxidative stress and vague

endocannabinoid alterations. Even as to those theories, their arguments confirm that their

experts’ theories are untested, unsupported hypotheses, and are thus inadmissible under

Rule 702.

       First, there is no truth to plaintiffs’ claim that defendants improperly seek to hold

plaintiffs’ experts to a standard of “certainty,” rather than plausibility. The law is clear that

expert opinions regarding biological plausibility cannot be based on a mere hypothesis or

guesswork. Instead, as plaintiffs’ own authority recognizes, the experts must have scientific

evidence that the mechanism they propose is supported by reliable scientific data. That evidence

is manifestly absent here.

       Second, plaintiffs’ insistence that their experts’ approach to animal studies was nominally

based on a weight-of-the-evidence methodology, and that this suffices to survive Rule 702

scrutiny, is also wrong. The question under Rule 702 and Daubert is whether the experts reliably

applied a valid methodology. They did not. Instead, they cherry-picked isolated positive results,

while disregarding negative results that undermine their opinions in a results-oriented manner.

Plaintiffs try to distract the Court from that failing by noting that JJCI’s own consultant assessed

animal studies. But a manufacturer’s assessment of animal data does not constitute an

endorsement of its use for purposes of establishing general causation, and in any event, the

consultant’s consideration—unlike that of plaintiffs’ experts—was careful and methodical, not

selective and biased, further highlighting the unreliability of plaintiffs’ experts’ opinions.

       Third, plaintiffs fail to refute defendants’ arguments regarding the multiple other

methodological holes in their experts’ opinions. Most fundamentally, plaintiffs do not seriously
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dispute that their experts cannot describe the mechanics of either ASD or ADHD, an omission

other courts have deemed fatal to biological plausibility opinions. Instead, plaintiffs attempt to

shift the burden of proof onto defendants to disprove plaintiffs’ experts’ sweeping claim that

oxidative stress and endocannabinoid alterations cause both ASD and ADHD. But defendants

have no burden to prove a negative, and this strategy cannot overcome the paucity of scientific

support for plaintiffs’ experts’ theories, which rest on mere hypotheses rather than

plausible science.

                                           ARGUMENT

I.     PLAINTIFFS MISCONSTRUE THE GOVERNING LAW.

       As set forth in defendants’ opening brief, Drs. Cabrera, Louie and Pearson do not (and

cannot) reliably opine that there is a plausible mechanism by which in utero acetaminophen

exposure can cause either ASD or ADHD. Plaintiffs respond that they do not have a burden to

“prove[]” biological plausibility to a “certainty” (Pearson Opp’n at 18-19; Louie Opp’n at 13-14;

Cabrera Opp’n at 28), but that is not the standard defendants have advanced, and while the bar is

lower than certainty, it is higher than plaintiffs’ experts can reach. Courts consistently reject

biological plausibility theories that are “merely . . . unproven hypothes[e]s” unsupported by

“evidence of [how] the mechanism . . . works.” In re Accutane Prods. Liab., 511 F. Supp. 2d

1288, 1295 (M.D. Fla. 2007); accord In re Mirena IUS Levonorgestrel-Related Prods. Liab.

Litig., 341 F. Supp. 3d 213, 305 (S.D.N.Y. 2018) (“untested mechanism hypothesis” “is not

reliable” and “is beset by analytic and evidentiary gaps at multiple steps”), aff’d, 982 F.3d 113

(2d Cir. 2020). And “the significance of this factor increases,” where, as here, “epidemiological

evidence is lacking or inconclusive.” In re Fosamax Prods. Liab. Litig., 645 F. Supp. 2d 164,

181 (S.D.N.Y. 2009).




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        Plaintiffs do not seriously dispute that their experts’ opinions on biological plausibility

are just that—i.e., untested “hypothes[es].” (Pearson Opp’n at 19.) Instead, they argue that their

experts’ proposed mechanism theories pass muster under Daubert because they were also

“hypothesized” by a group of scientists who signed the so-called Bauer Consensus Statement.

(Id.) But that document—which, notably, generated a “consensus counterstatement”—merely

urged the “initiation of epidemiological and experimental studies to understand the hormonal,

epigenetic and metabolic mechanisms by which APAP acts and might adversely affect

development.”1 Dr. Bauer’s call for more research echoes her earlier paper (relied upon by Dr.

Baccarelli), which described the biological theories being pressed in this case as

mere “hypotheses.”2

        Plaintiffs’ authority is not to the contrary. For example, in In re Fosamax, 645 F. Supp.

2d at 170—which is cited heavily throughout plaintiffs’ opposition briefs3—the plaintiffs alleged

that bisphosphonates, a bone resorption inhibitor used to treat osteoporosis, caused a rare

condition called “osteonecrosis of the jaws (‘ONJ’).” Id. The parties agreed on the actual

mechanics of ONJ itself—i.e., it is a disease consisting of “an area of dead jaw bone that

becomes exposed to the oral cavity.” Id. The only dispute concerned how bisphosphonates

actually cause that dead area of jawbone, which occurred, according to the plaintiffs’ experts,

when bisphosphonates accumulated in the jaw bone, resulting in “suppression of bone turnover.”

Id. at 182. The court held that this opinion was admissible because the proposed theory was

“widely reported in the scientific literature as a plausible explanation,” with “[n]early every


1
        Bauer, Consensus Statement: Paracetamol Use During Pregnancy—A Call for Precautionary Action, 17
Nature Revs. Endocrinology 757, 758-59 (2021) (Mot. Ex. 39).
2
        Bauer, Prenatal Paracetamol Exposure and Child Neurodevelopment: A Review, 101 Horm. Behav. 125
(2018) (Mot. Ex. 40).
3
        Cited in Louie Opp’n at 14, 18; Pearson Opp’n at 4, 19; Cabrera Opp’n at 17, 19.



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report and review of [the condition] point[ing] to bisphosphonate-induced remodeling

suppression as a likely mechanism” and even the American Dental Association “conclud[ing]

that biologic plausibility point[s] in the direction of causality.” Id. (citation omitted).

        No comparable evidence exists in this case, which is one reason why the FDA once again

rejected a “determination of [a] causal[]” relationship earlier this year.4 Unlike ONJ, ASD and

ADHD are neurodevelopmental disorders, the mechanics of which are not fully understood by

the medical community. Plaintiffs do not even claim that their experts “know[] ‘the precise

pathogenesis of’” ASD or ADHD (Pearson Opp’n at 28-39 (citation omitted)), much less that

such processes are understood within the broader medical and scientific community. And “until

such time as medical science understands the physiological process by which” these complex

neurodevelopmental disorders arise and develop, “the law cannot impose liability for” them.

Hendrix v. Evenflo Co., 255 F.R.D. 568, 602 (N.D. Fla. 2009) (applying principle to opinion

regarding ASD), aff’d, 609 F.3d 1183 (11th Cir. 2010). In short, because “[t]he courtroom is not

the place for scientific guesswork” (i.e., “[l]aw lags behind science; it does not lead it”),

plaintiffs’ experts’ untested hypotheses on biological mechanisms are unreliable. In re Mirena,

341 F. Supp. 3d at 270-71 (citation omitted).

II.     PLAINTIFFS’ EXPERTS DO NOT RELIABLY ANALYZE THE RELEVANT
        LITERATURE.

        An expert opinion is not reliable merely because the expert identifies, and claims to have

followed, a reliable methodology; rather, the expert must also apply that methodology in a

reliable manner. Daniels-Feasel v. Forest Pharms., Inc., No. 17-4188, 2021 WL 4037820, at *12

(S.D.N.Y. Sept. 3, 2021) (“an unreliable application of purportedly sound scientific


4
       See ECF 1105, at 1-2 (“FDA Letter”) (quoting Ex. A to FDA Letter (“FDA 2023 Review”), at 3-4); see also
ECF 483-1 at FDACDER000114 (“It is unlikely that further observational studies will provide more clarity without
more mechanistic data.”).



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methodology” does not satisfy Daubert), aff’d, No. 22-146, 2023 WL 4837521 (2d Cir. July 28,

2023); see also Fed. R. Evid. 702 (proponent of an expert’s opinion must demonstrate that the

“expert has reliably applied the principles and methods to the facts of the case”). Put another

way, “[t]he specific techniques by which the weight of the evidence . . . methodology is

conducted must themselves be reliable according to the principles articulated in Daubert.” In re

Mirena, 341 F. Supp. 3d at 248 (citation omitted).

       Here, plaintiffs’ experts have not reliably applied their stated methodologies. Instead,

they cherry-pick isolated findings in studies with largely null results, without offering a scientific

basis for ignoring the findings that do not fit their narrative. And plaintiffs’ efforts to analogize

their experts’ methods to those of toxicologists retained by JJCI only highlight the differences

between accepted methods and their own unscientific approach.

       A.      Plaintiffs’ Experts Cherry-Pick From Hundreds Of Findings To Highlight
               The Few That Arguably Support Their Opinions.

       As explained in defendants’ opening brief, plaintiffs’ experts rely on animal studies that

involved a wide assortment of behavioral and chemical tests and reported multiple outcomes. If

even one of those tests showed a positive result, plaintiffs’ experts counted it as supportive,

while ignoring negative findings from the same study. This approach is bad science, in part

because of the multiplicity rule: if you run enough tests, at least one is likely to report a positive

result purely by chance. (Mot. at 17-21.) See also Reference Manual on Scientific Evidence (3d

ed. 2011), at 256 (“If enough comparisons are made, random error almost guarantees that some

will yield ‘significant’ findings, even when there is no real effect.”)

       Plaintiffs’ response is baffling. For starters, they acknowledge the principle that running

a large number of tests increases the likelihood that some positive results will be spurious.

(Pearson Opp’n at 26.) They also recognize that a null finding is indicative of no



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neurodevelopmental effect. (Id. at 24 (“If a toxicant did not affect neurodevelopment at all, no

change would be observed in any direction.”).) Nonetheless, plaintiffs go on to defend their

experts’ methods by disregarding all of these same principles. Plaintiffs assert, for example, that

Dr. Pearson reliably counts studies showing changes in glutathione levels (“GSH”) as supportive

of his theory, regardless of whether the change is positive or negative (even though he theorizes

that acetaminophen increases oxidative stress by decreasing GSH levels, not vice versa). To

justify this position, plaintiffs speculate (without referencing any scientific literature) that a study

that shows an increase of GSH levels (which would seem to rebut Dr. Pearson’s theory) means

that acetaminophen “might initially cause [GSH levels] to decrease, leading the brain to respond

by synthesizing more.” (Pearson Opp’n at 23.) Null findings likewise pose no problem for Dr.

Pearson’s opinions because, according to plaintiffs, “[a]bsence of evidence is not the same as

evidence of absence.” (Id. at 26.) In short, if a single finding shows an adverse effect, it

supports Dr. Pearson; if it shows the opposite of an adverse effect, it also supports Dr. Pearson;

and if it shows no effect, it does not matter, because at least a few findings showed some kind of

change and thus support Dr. Pearson. Under this win-win approach, almost anything ever

studied would be a plausible biological mechanism. Plaintiffs’ inability to cite any scientific or

legal authority for such an undisciplined method is not surprising.

        Plaintiffs’ defense of their experts’ cherry-picking is doubly problematic because they

attempt to support their experts’ opinions with justifications the experts themselves do not adopt.

A good example is Rigobello 2021, which ran 16 tests on whether acetaminophen decreased

levels of GSH and returned 15 results that were null or “showed, if anything, that GSH levels

were higher than in the controls.”5 (Mot. at 23-24.) In an effort to justify their experts’ focus on


5
        Rigobello, Perinatal Exposure to Paracetamol: Dose & Sex-Dependent Effects in Behaviour & Brain’s



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the one favorable result in the study, plaintiffs blame the negative results on low sample size,

again without any scientific support or citation. (Louie Opp’n at 17 n.21.) Plaintiffs also attempt

to brush away the fact that the single favorable GSH result disappeared at a higher dose (350

mg/kg) by repeating their claim that “higher levels of glutathione present at higher APAP doses

could . . . reflect the body’s homeostatic response to the increased toxicant.” (Pearson Opp’n at

36; see also id. at 23.) But plaintiffs’ experts have never suggested such an explanation, which

the Rigobello 2021 authors described as a “speculative hypothesis.”6 Because “[t]he subject of

[defendants’] motion is the proposed testimony of experts, not the theories of the lawyers,” In re

Rezulin Prods. Liab. Litig., 369 F. Supp. 2d 398, 407 (S.D.N.Y. 2005), plaintiffs’ attempts to

backfill their opinions with missing explanations would fail even if they were not speculative.7

         Defendants similarly highlighted the fact that Dr. Louie ignored the findings of Klein

2020, a study that plaintiffs’ other experts relied on for its behavioral findings but discounted for

its mechanistic findings—namely, that “acetaminophen exposure in utero had no significant

effect on GSH levels . . . after birth.” (Mot. at 22-23.) According to plaintiffs, Dr. Louie did so

“because the relevant information from that study was contained in and cited by Rigobello

(2021), which he did review.” (Louie Opp’n at 17.) But plaintiffs cite no testimony or statement

in either of Dr. Louie’s reports purporting to offer such an explanation. And Dr. Louie could not

have been aware that Klein 2020 and Rigobello 2021 contained the same information because he



Oxidative Stress Markers in Progeny, 408 Behav. Brain Res. 1 (2021) (“Rigobello 2021”) (Mot. Ex. 122).
6
         Id. at 5.
7
         Plaintiffs’ interpretation of Rigobello 2021 also flies in the face of the Tyl 2008 article on which they
heavily rely, which states that “a modest difference from control that is statistically significant but inconsistent with
a pattern of effect (i.e., does not occur in a dose-related manner and is not accompanied by any other DNT or toxic
effects) may be considered an incidental finding that is unrelated to treatment.” Tyl, Identification & Interpretation
of Developmental Neurotoxicity Effects: A Report from the ILSI Research Foundation/Risk Science Institute Expert
Working Group on Neurodevelopmental Endpoints, 30 Neurotoxicol. Teratol. 349, 377 (2008) (emphasis added)
(Opp’n Ex. 131).



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admitted that he had “never read” Klein 2020 before it was shown to him at his deposition.

(Dep. of Stan Louie (“Louie Dep.”) 259:10-15 (emphasis added) (Mot. Ex. 10).) For this reason,

too, plaintiffs’ arguments fail.

        B.




                              See In re Mirena IUD Prods. Liab. Litig., 202 F. Supp. 3d 304, 324-

25 (S.D.N.Y. 2016) (“These emails ‘demonstrate that [Bayer] employees raised questions’ about

the timing of perforations in Mirena users . . . . They do not amount to admissions that secondary

perforation exists.”) (citation omitted); accord Siharath v. Sandoz Pharms. Corp., 131 F. Supp.

2d 1347, 1367-69 (N.D. Ga. 2001) (animal studies conducted by the defendant did not constitute

a reliable basis for a theory of general causation), aff’d sub nom. Rider v. Sandoz Pharms. Corp.,

295 F.3d 1194 (11th Cir. 2002).




                                   Plaintiffs’ experts, by contrast, did not take account of this bigger

picture presented in Blecharz-Klin 2017. Instead, they narrowly focused only on the results



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favorable to their opinions without considering the broader context of other findings in the study.

(See, e.g., Am. Rep. of Robert Cabrera at 100-01 (Mot. Ex. 6) (crediting simply the “reported

changes in the amino acid levels in the hippocampus and cortex”); Am. Rep. of Brandon Pearson

(“Pearson Rep.”) at 89-90 (Mot. Ex. 8) (not recognizing that more than a third of the observed

neurochemical responses did not follow a monotonic dose-response).)

       Plaintiffs’ experts’ analyses also contradict each other, further revealing the non-scientific

nature of their approach. Plaintiffs assert, for example, that Dr. Pearson was right to ignore that

Blecharz-Klin 2014 reported no effect on “certain amino acids in the hippocampus” because the

study “involved APAP treatment on adult rats” and, thus, is “not relevant to whether prenatal

APAP exposure contributes to ASD or ADHD.” (Pearson Opp’n at 22-23.) But in another brief,

plaintiffs argue that defendants are wrong to criticize Dr. Cabrera for relying on adult rodent

studies because “adult-rodent studies can show a given mechanism at work.” (Cabrera Opp’n at

26.) Similarly, plaintiffs attempt to turn Dr. Pearson’s outcome-oriented selection of studies that

form the basis of his opinions into a virtue by arguing that only those studies met “his criteria for

data relevance” (Pearson Opp’n at 13 n.4), but in so arguing, they undermine Dr. Cabrera’s

consideration of studies that Dr. Pearson explicitly deemed not relevant—such as studies

involving adult rodents (see ASD Br. at 65 (ECF 1160)).

       Plaintiffs’ inability to defend their own experts without arguing against themselves

further highlights the arbitrary and unscientific nature of these experts’ analyses.

III.   PLAINTIFFS’ MECHANISTIC THEORIES ALL RELY ON UNRELIABLE
       LEAPS IN LOGIC.

       A.      Plaintiffs Have Not Identified The Underlying Neurostructural Mechanisms
               That Cause ASD Or ADHD.

       As defendants’ opening brief emphasized, courts have repeatedly recognized that a

plausible mechanistic theory must begin with an understanding of how the injury in question


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generally develops. (See Mot. at 12-14 (citing Mirena and Hendrix).) Plaintiffs respond by

arguing that Dr. Louie was not “entirely ‘silen[t]’ on ‘the basic operation of the “mechanism”

and “pathway”’” allegedly linking acetaminophen to ASD and ADHD (Louie Opp’n at 15), but

this argument addresses the wrong problem. In order to offer a reliable biological plausibility

opinion, an expert must understand the mechanisms by which the injury generally develops.

Plaintiffs’ experts do not. Plaintiffs also assert that “scientific understanding of ASD and ADHD

and their causal factors has improved considerably since Hendrix” (Louie Opp’n at 15), but they

offer no explanation of how it has improved or what supportive information is known now about

the pathophysiology of these conditions that was not known in 2009.

       Plaintiffs’ principal case, In re Fosamax (cited in Louie Opp’n at 14, 18; Pearson Opp’n

at 4, 19; Cabrera Opp’n at 17, 19), illustrates precisely what is lacking in this litigation. As

mentioned above, there, the actual mechanics of the disorder were not in dispute; the only

question was how the drug at issue could cause the disease. Plaintiffs also cite the Ninth

Circuit’s decision on remand in Daubert, which stated that “[c]ausation can be proved even

when we don’t know precisely how the damage occurred, if there is sufficiently compelling

proof that the agent must have caused the damage somehow.” (Pearson Opp’n at 29-30 (quoting

Daubert v. Merrell Dow Pharms., Inc., 43 F.3d 1311, 1314 (9th Cir. 1995)).) The Ninth Circuit

went on to give the example of “50 people who [ate] at a restaurant one evening” and “c[a]me

down with food poisoning during the night,” Daubert, 43 F.3d at 1314, but that sort of

overwhelming circumstantial evidence is lacking here. To the contrary, the epidemiologic

evidence is weak and confounded, as defendants have explained in great detail. (See ASD Br. at

27-47; ASD Reply at 6-27, incorporated herein; ADHD Br. at 18-37 (ECF 1162); ADHD Reply

at 2-17, incorporated herein).)




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        Plaintiffs also contend that Dr. Pearson offered “[g]raphical depiction[s] of the ways

oxidative stress can perturb neurodevelopment and lead to neurodevelopmental disorders.”

(Pearson Opp’n at 30 (citation omitted).) But a series of summary graphics with the words

“Neurodevelopmental disorder,” “Neuro-inflammation,” “Cerebral injury” and “Neuro-

dysfunction” and arrows pointing to “ASD” does not describe the “mechanics” underlying the

complex disorders at issue. In re Mirena, 341 F. Supp. 3d at 248. At best, they illustrate a

hypothesis. Moreover, the graphic plaintiffs pasted into their brief is excerpted from an article

that describes it as “depicting the potential mechanisms of oxidative stress in the pathogenesis

of ASD.”8

        Plaintiffs’ experts’ conflation of ASD and ADHD further highlights their inability to

explain the underlying mechanism of either disorder. (See Mot. at 16-17.) Plaintiffs’ briefs

parrot their experts’ assertions that “there is scientific consensus that ASD and ADHD have a

shared pathophysiology, overlapping biological pathways, and shared causal factors.” (Louie

Opp’n at 16.) The only article plaintiffs cite for support, however, merely states that certain

studies have shown that ADHD shares certain “genetic and environmental influences” with

“many other psychiatric disorders (e.g. schizophrenia, depression, bipolar disorder, autism

spectrum disorder, conduct disorder, eating disorders, and substance use disorders) and with

somatic disorders (e.g. migraine and obesity),” and that such findings “suggest that these

disorders also share a pathophysiology in the biological pathways.”9 That “suggest[ion]” does

not suffice. See In re Zoloft (Sertraline Hydrochloride) Prods. Liab. Litig., 26 F. Supp. 3d 466,


8
         Liu, Oxidative Stress in Autism Spectrum Disorder—Current Progress of Mechanisms and Biomarkers, 13
Frontiers in Psychiatry 1, 3-4 (2022) (emphasis added). Copies of all studies cited herein and not previously
provided are attached to the Declaration of Kristen L. Richer as Exs. 2-14.
9
        Faraone, The World Federation of ADHD International Consensus Statement: 208 Evidence-Based
Conclusions About the Disorder, 128 Neurosci. Biobehav. Rev. 789, 795 (2021) (emphasis added) (Opp’n Ex. 93).



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474 (E.D. Pa. 2014) (“To meet the Daubert standard, the experts must demonstrate that these

opinions are based on methods and procedures of science, not speculation.”).

        B.       Each Of Plaintiffs’ Mechanistic Theories Fails For Different Reasons.

        Plaintiffs’ experts’ mechanism opinions are unreliable for other reasons too, none of

which are rebutted in their opposition briefs.

        First, plaintiffs ignore the bulk of defendants’ arguments regarding the literature

surrounding their oxidative stress theory. (See Mot. at 21-28.) As defendants explained in their

opening brief, a major deficiency surrounding that theory is plaintiffs’ experts’ failure to actually

link oxidative stress to either ASD or ADHD. Plaintiffs are unable to refute this argument. (See

Mot. at 27-28.) Plaintiffs point to Nasim 2019,10 which measured antioxidant levels in children

with ADHD (Louie Opp’n at 16), but they do not address the cautionary statement in Carey 2023

that “retrospective studies in children already diagnosed with ASD cannot provide evidence as to

whether [oxidative stress] differences are a cause or a consequence of ASD.”11 The same logic

holds true of ADHD as well. Plaintiffs also cite Anand 202112 as supportive of their experts’

opinions, but they seem to have missed the authors’ cautionary statement: “Given the

observational study design, this study should be interpreted as hypothesis generating and

not causal.”13




10
        Nasim, Relationship Between Antioxidant Status & Attention Deficit Hyperactivity Disorder Among
Children, 10 Int’l. J. Prev. Med. 1 (2019) (Opp’n Ex. 160).
11
       Carey, Examining Associations Between Prenatal Biomarkers of Oxidative Stress & ASD-Related
Outcomes Using Quantile Regression, 53(8) J. Autism Dev. Disord. 2975, 2976 (2023) (emphasis added) (Mot. Ex.
54).
12
        Anand, Perinatal Acetaminophen Exposure & Childhood Attention-Deficit/Hyperactivity Disorder
(ADHD): Exploring the Role of Umbilical Cord Plasma Metabolites in Oxidative Stress Pathways, 11(10) Brain Sci.
1302 (2021) (Opp’n Ex. 142).
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        Id. at 12 (emphasis added).



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       Plaintiffs’ cursory treatment of Adverse Outcome Pathway (“AOP”) 20, relied on heavily

by Dr. Cabrera, also highlights the problem. (See Cabrera Opp’n at 29-30.) As explained in

defendants’ opening brief, although this AOP purports to link proteins that can bind to thiol

(SH)- and seleno-containing proteins involved in protection against oxidative stress (a group that

includes GSH) to impairment in “learning and memory,” the AOP does not reference ADHD at

all, and all references to autism were excised by the authors following criticisms from reviewers.

(See Mot. at 27-28.) Specifically, one of the peer reviewers from the EPA noted that “autism is

described by a set of very serious social behavior problems which may or may not involve

[learning and memory] problems,” and a reviewer from the Canadian government questioned

whether the “AOP [is] related to ASD,” requesting that the autism references be removed if not.

(Opp’n Ex. 200, at 7, 13.) Plaintiffs’ and Dr. Cabrera’s rejection of the authors’ and reviewers’

own conclusion that AOP 20 does not relate to ASD highlights the unreliability of Dr. Cabrera’s

opinions. See, e.g., Daniels-Feasel, 2021 WL 4037820, at *4, *10 (noting that an expert “must

not exceed the limitations the authors themselves place on [a] study” and excluding expert

because he “press[ed] conclusions that the . . . authors were not willing to make”)

(citation omitted).

       Plaintiffs also fail to rehabilitate their experts’ reliance on many studies that did not

involve brains—much less fetal brains—without showing that effects on other organs would be

similar to those in the brain. (See Mot. at 25-26.) This is problematic, as defendants explained

in their opening brief, because different organs have unique structures and contain different

concentrations of chemicals and enzymes. (Id.) For example, plaintiffs provide no evidence that

NAPQI has ever been detected in the fetal brain. CYP2E1—the enzyme key in forming

NAPQI—is barely present in the fetal brain but abundant in the liver, meaning that extrapolating




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from studies examining oxidative stress in the liver is not necessarily informative as to what

happens to the fetal brain. (Id.) While plaintiffs acknowledge the different levels of CYP2E1

briefly in a footnote and claim that it does not matter because there is at least some “presence” of

CYP2E1 in the fetal brain (Pearson Opp’n at 37 n.13), they ignore that Dr. Louie conceded that

the levels of CYP2E1 are much lower in the brain than in the liver, but did not consider that

difference in forming his opinions (see Mot. at 26; see also Louie Dep. 193:14-194:8). In fact,

the brain also has higher levels of GSH than the liver, meaning that it can more quickly detoxify

any NAPQI, further highlighting the unreliability of focusing on liver studies to learn about the

brain. (See Mot. at 26.)

       In short, plaintiffs’ experts’ oxidative stress theory rests on faulty scientific principles and

should be rejected.

       Second, plaintiffs’ experts’ theory that acetaminophen somehow interferes with the

endocannabinoid system, which then causes ASD and ADHD, amounts to nothing more than

rank speculation. Once again, plaintiffs fail to tie any changes in the endocannabinoid system to

either ASD or ADHD. See In re Mirena, 341 F. Supp. 3d at 285 (giving “scant attention to the

actual pharmacokinetic process that must underlie the causal sequence that he postulates” is a

“failure[] of methodology” warranting expert’s exclusion). In fact, nowhere in their briefs do

plaintiffs even identify the ways endocannabinoid disruptions allegedly cause ASD or ADHD,

relying instead on studies that have “linked [endocannabinoid disruption] to ASD” or “support an

association with ADHD.” (Pearson Opp’n at 8.) As explained in defendants’ opening brief,

these studies serve, at best, to link a “biomarker” alteration “with ASD or ADHD” without

explaining which is the chicken and which is the egg. (Mot. at 30-31.) Plaintiffs try to flip the

Daubert burden by complaining that defendants did not “cite . . . scientific support for their




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speculation that changes to the endocannabinoid system are somehow ‘just as likely to result

from ASD or ADHD as to cause it’” (Pearson Opp’n at 39 (citation omitted)), but (again) the

burden is on plaintiffs to show that endocannabinoid system changes are a cause of either

disorder. As defendants have repeatedly explained, they do not have to prove the negative: to

disprove a causal pathway that plaintiffs have not even established. See Prop. Fed. R. Evid. 702;

see also In re Mirena IUD Prods. Liab. Litig., 169 F. Supp. 3d 396, 418-19 (S.D.N.Y. 2016)

(rejecting the “general thrust of [p]laintiffs’ arguments,” to the effect that defense experts did not

“point[] to studies ruling out the possibility of secondary perforation”).

       In any event, plaintiffs do not even attempt to defend the myriad missing links in the

other parts of the causal chain of the endocannabinoid theory. As defendants previously

explained, plaintiffs’ experts lack “evidence that acetaminophen prevents reuptake or increases

free levels of endocannabinoids” and rely on “nothing but speculation and strained analogy to

support the hypothesis that endocannabinoid dysregulation in utero causes ASD or ADHD.”

(Mot. at 29.) Plaintiffs offer no meaningful response. Nor do they explain how their experts can

extrapolate from studies like Schultz 2012, which found that soaking mouse neurons in an

acetaminophen metabolite solution (but not an acetaminophen solution) induced cell death

similar to an anandamide solution, to conclude that acetaminophen causes ASD or ADHD. (Id.)

Even if plaintiffs could connect any changes to the endocannabinoid system with ASD or

ADHD, these missing links would render their hypothesized causal chain speculative and

inadmissible. See In re Mirena, 341 F. Supp. 3d at 270-71 (excluding theory of biological

plausibility that “relie[d] on too many unsupported leaps”).

       Third, plaintiffs have all but abandoned each of their other proposed biological pathways.

As for epigenetics, plaintiffs hardly mention the topic despite the pages defendants devoted to the




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proposed pathway in their opening brief (see Mot. at 31-34), and they explicitly concede that Dr.

Louie “does not intend to testify that DNA methylation is a plausible mechanism for

acetaminophen elevating the risk of ASD and ADHD” (Louie Opp’n at 18-19). The most

attention plaintiffs pay to epigenetics comes in a footnote in their brief defending Dr. Pearson,

and even then, plaintiffs fail to meaningfully address the flaws in his opinion. Plaintiffs respond

that Dr. Pearson “considered the relevant studies, including on DNA methylation” and “his report

has a section on epigenetic changes” (Pearson Opp’n at 38 n.14), but the most that section of Dr.

Pearson’s report establishes is that “epigenetic disruptions can also perturb normal cellular

processes, and contribute to the development of toxicological outcomes, including diseases and

adverse effects on health”—not ASD or ADHD specifically. (Pearson Rep. at 60-61.) Plaintiffs

offer no other defense of that speculative and broad purported mechanism for harm.

       Plaintiffs similarly throw in the towel on their other hypotheses related to levels of non-

endocannabinoid neurotransmitters, BDNF levels, cell death, and prostaglandin disruption (see

Mot. at 35-39), half-heartedly defending all of these mechanisms in a single paragraph in which

they afford each mechanism no more than two sentences (see Pearson Opp’n at 39). In that brief

space, plaintiffs do not address their experts’ failure to harmonize the BDNF findings in Viberg

2014 and Klein 2020 (see Mot. at 35-36), do not explain how cell death would be connected to a

clinically relevant outcome of ASD or ADHD (see id. at 37-38), and do not elaborate on why any

link between prostaglandin disruption and ASD or ADHD is more than rank speculation when

other analgesics also disrupt prostaglandin but have never been suggested to increase the risk of

ASD or ADHD (see id. at 38-39). Plaintiffs’ cursory treatment of those mechanisms is

consonant with the speculative nature of the evidence “supporting” those pathways. Indeed, Dr.

Cabrera himself conceded at his deposition that “outside of the endocannabinoid and the




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oxidative stress” pathways, there “would be gaps in the data that would leave a gap in the

biological plausibility that would need additional data to fill in those gaps.” (Dep. of Robert

Cabrera 325:2-326:1 (Mot. Ex. 7).) For this reason, too, the experts’ opinions should

be excluded.

                                         CONCLUSION

       For the foregoing reasons, the Court should exclude all of plaintiffs’ experts’ opinions on

proposed biological mechanisms.

Dated: October 20, 2023                       Respectfully submitted,

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